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)URP                             %URZQ1DQF\$%URZQ1#6(&*29!
6HQW                             :HGQHVGD\-XQH30
7R                               %HUNRYLWV0LFKDHO/HH5DQGDOO5
&F                               &KDQGUDVHNKDU&KDUX3DOH\0LFKDHO'%URPEHUJ.DWKHULQH'DQLHOV-RQ-RKQVWRQH
                                  &KULV
6XEMHFW                          5(6(&Y+RQLJ




DŝĐŚĂĞůĂŶĚZĂŶĚĂůů͕
dŚĂŶŬǇŽƵĨŽƌǇŽƵƌĞŵĂŝů͘
KƵƌŶĞĞĚĨŽƌƚŚĞƐƚŝƉƵůĂƚŝŽŶƚŽďĞƐŽŽƌĚĞƌĞĚŝƐďŽƚŚƌĞĂƐŽŶĂďůĞĂŶĚƵŶĚĞƌƐƚĂŶĚĂďůĞ͕ĂŶĚǇŽƵƌĂŐƌĞĞŵĞŶƚƚŽŝƚƐĨŽƌŵ
ƌĞĨůĞĐƚƐǇŽƵƌƵŶĚĞƌƐƚĂŶĚŝŶŐƚŚĂƚƚŚĞ:ƵĚŐĞ͛ƐĂƉƉƌŽǀĂůǁĂƐĂƉƌĞͲƌĞƋƵŝƐŝƚĞƚŽŽƵƌƉƌŽĐĞĞĚŝŶŐƚŚĞƉƌŽĚƵĐƚŝŽŶŽĨ
ĚŽĐƵŵĞŶƚƐƚŽǇŽƵ͘
zŽƵƌƌĞĨƵƐĂůƚŽĂĐĐĞƉƚŽƵƌŽĨĨĞƌƚŽũŽŝŶƚůǇĐĂůůĐŚĂŵďĞƌƐŝƐŝŶĐŽŶƐŝƐƚĞŶƚǁŝƚŚǇŽƵƌƐƚĂƚĞĚŝŶƚĞƌĞƐƚŝŶŽďƚĂŝŶŝŶŐŽƵƌ
ƉƌŽĚƵĐƚŝŽŶĂƐƋƵŝĐŬůǇĂƐƉŽƐƐŝďůĞ͘^ŽǁĂƐǇŽƵƌĚĞůĂǇŝŶƌĞƚƵƌŶŝŶŐĐŽŵŵĞŶƚƐƚŽŽƵƌƉƌŽƉŽƐĞĚŽŶĨŝĚĞŶƚŝĂůŝƚǇ^ƚŝƉƵůĂƚŝŽŶ
ĂŶĚKƌĚĞƌǁŚŝĐŚǁĞĨŝƌƐƚĐŝƌĐƵůĂƚĞĚƚŽĂůůĞĨĞŶĚĂŶƚƐŽŶƉƌŝůϯϬ͕ϮϬϭϵ͘tĞƌĞĐĞŝǀĞĚŶŽĐŽŵŵĞŶƚƐĨƌŽŵǇŽƵƵŶƚŝůŶĞĂƌůǇ
ĂŵŽŶƚŚůĂƚĞƌ͕ŽŶDĂǇϮϭ͕ϮϬϭϵ͘;dŚĂƚ͞ƌĞĚͲůŝŶĞ͟ĂƐǇŽƵ͛ůůƌĞĐĂůů͕ĚŝĚŶŽƚŝŶĨĂĐƚƌĞĨůĞĐƚĂůůŽĨǇŽƵƌƌĞǀŝƐŝŽŶƐƚŽƚŚĞ
ĚŽĐƵŵĞŶƚĂŶĚǇŽƵƉƌŽǀŝĚĞĚƚŚĞĐŽŵƉůĞƚĞƌĞĚͲůŝŶĞƚŚĞŶĞǆƚĚĂǇ͕DĂǇϮϮ͕ϮϬϭϵ͘ͿtĞƉƌŽŵƉƚůǇƌĞƐƉŽŶĚĞĚƚŽƚŚŽƐĞ
ĐŽŵŵĞŶƚƐŽŶDĂǇϮϯ͕ϮϬϭϵ͕ĂŶĚƚŚĞŶǇŽƵƉƌŽƉŽƐĞĚĨƵƌƚŚĞƌĞĚŝƚƐŽŶDĂǇϮϰ͕ϮϬϭϵ͘KŶDĂǇϮϵ͕ϮϬϭϵ͕ǁĞƌĞƐƉŽŶĚĞĚƚŽ
ƚŚŽƐĞĐŽŵŵĞŶƚƐ͕ǁŚŝĐŚǇŽƵƵůƚŝŵĂƚĞůǇĂĐĐĞƉƚĞĚŽŶDĂǇϯϭ͕ϮϬϭϵ͘zŽƵŵĂĚĞŶŽĞĨĨŽƌƚƐƚŽĂƐƐŝƐƚŝŶŽďƚĂŝŶŝŶŐĂŶǇŽĨƚŚĞ
ŽƚŚĞƌĞĨĞŶĚĂŶƚƐ͛ĂŐƌĞĞŵĞŶƚƚŽƚŚĞĚƌĂĨƚ^ƚŝƉƵůĂƚŝŽŶ͕ĂůƚŚŽƵŐŚǁĞƵŶĚĞƌƐƚĂŶĚƚŚĂƚǇŽƵŚĂǀĞƉƌĞǀŝŽƵƐůǇŶĞŐŽƚŝĂƚĞĚǁŝƚŚ
ƵƐŽŶŽƚŚĞƌŝƐƐƵĞƐŝŶƚŚŝƐĂĐƚŝŽŶŽŶďĞŚĂůĨŽĨŽƚŚĞƌĚĞĨĞŶĚĂŶƚƐ͕ŶĞĐĞƐƐŝƚĂƚŝŶŐĂĨƵƌƚŚĞƌĚĞůĂǇǁŚŝůĞǁĞƌĞĂĐŚĞĚŽƵƚƚŽ
ƚŚĞŵĨŽƌƚŚĞŝƌƐŝŐŶŽĨĨ͘tŚĞŶǁĞĨŝŶĂůůǇŽďƚĂŝŶĞĚĂůůŽĨƚŚĞŝƌĂŐƌĞĞŵĞŶƚƐƚŽƚŚĞĨŽƌŵŽĨƚŚĞ^ƚŝƉƵůĂƚŝŽŶ͕ĂŶĚƌĞĐĞŝǀĞĚ
ƚŚĞŝƌƐŝŐŶĂƚƵƌĞƐ͕ŽŶ:ƵŶĞϰ͕ϮϬϭϵ͕ǁĞƐƵďŵŝƚƚĞĚŝƚŽŶ&͕ĂůŽŶŐǁŝƚŚƚŚĞ^ƚŝƉƵůĂƚŝŽŶŽŶEŽŶͲƐŚĂƌŝŶŐƚŚĂƚǇŽƵƌĞƚƵƌŶĞĚ
ŽŶDĂǇϮϵ͕ϮϬϭϵ͘dŚĞŽƵƌƚƐŽŽƌĚĞƌĞĚƚŚĞŽŶĨŝĚĞŶƚŝĂůŝƚǇ^ƚŝƉƵůĂƚŝŽŶĂŶĚƚŚĞƌĂƵƐĞƌEŽŶͲƐŚĂƌŝŶŐ^ƚŝƉƵůĂƚŝŽŶŽŶ:ƵŶĞ
ϱ͕ϮϬϭϵ͘
/ŶƚŚĞŵĞĂŶƚŝŵĞ͕ŽŶďĞŚĂůĨŽĨǇŽƵƌĐůŝĞŶƚ͕ǇŽƵŚĂǀĞƉƌŽĚƵĐĞĚĂƚŽƚĂůŽĨϭϮĚŽĐƵŵĞŶƚƐ͘zŽƵĐŽŶƚĞŶĚƚŚĂƚDƌ͘>ĂĚĚŚĂƐ
ŶŽĂƵƚŚŽƌŝƚǇƚŽƉƌŽĚƵĐĞĚŽĐƵŵĞŶƚƐŝŶŚŝƐƉŽƐƐĞƐƐŝŽŶĂƐKŽĨD'd͕ĂůƚŚŽƵŐŚǁĞƵŶĚĞƌƐƚĂŶĚƚŚĂƚDƌ͘>ĂĚĚŵĂĚĞŶŽ
ƌĞƋƵĞƐƚƚŽƚŚĞŽŵƉĂŶǇĨŽƌĂƵƚŚŽƌŝǌĂƚŝŽŶƚŽĚŽƐŽ͕ŝĨƐƵĐŚĂƵƚŚŽƌŝǌĂƚŝŽŶǁĂƐŝŶĨĂĐƚŶĞĐĞƐƐĂƌǇ͘zŽƵĂůƐŽŚĂǀĞƌĞĨƵƐĞĚƚŽ
ƉƌŽǀŝĚĞƚŚĞĚŽĐƵŵĞŶƚƐŝŶƚŚĞĨŽƌŵǁĞƌĞƋƵĞƐƚĞĚ;ǁŚŝĐŚƉƌĞƐĞƌǀĞƐŬĞǇŵĞƚĂĚĂƚĂƚŚĂƚƚŚĞŽŵŵŝƐƐŝŽŶŝƐĞŶƚŝƚůĞĚƚŽ
ŽďƚĂŝŶͿ͕ĂůƚŚŽƵŐŚǇŽƵŵĂĚĞŶŽŽďũĞĐƚŝŽŶƚŽƚŚĂƚƌĞƋƵĞƐƚŝŶǇŽƵƌZĞƐƉŽŶƐĞƚŽŽƵƌ&ŝƌƐƚZĞƋƵĞƐƚ͘
tĞǁŝůůŐŽĂŚĞĂĚĂŶĚĨŽůůŽǁƵƉǁŝƚŚŚĂŵďĞƌƐŽƵƌƐĞůǀĞƐ͕ĂůĞƌƚŝŶŐƚŚĞŽƵƌƚƚŚĂƚǇŽƵĂĚǀŝƐĞĚƚŚĂƚǇŽƵĚŝĚŶŽƚŶĞĞĚƚŽ
ďĞŽŶƚŚĞĐĂůů͘



&ƌŽŵ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
^ĞŶƚ͗dƵĞƐĚĂǇ͕:ƵŶĞϭϭ͕ϮϬϭϵϭϭ͗ϬϴWD
dŽ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх
Đ͗ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵфŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞ
фƌŽŵďĞƌŐ<Λ^͘'Ksх͖ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх͖>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ

EĂŶĐǇ͕

dŚĞ^ŵĂǇŶŽƚƌĞĨƵƐĞƚŽƉƌŽĚƵĐĞĚŽĐƵŵĞŶƚƐŝŶĚĞĨŝŶŝƚĞůǇŽŶƚŚĞďĂƐŝƐǇŽƵŚĂǀĞŝĚĞŶƚŝĨŝĞĚʹ
ŶĂŵĞůǇ͕ƚŚĞĨĂĐƚƚŚĂƚƚŚĞŽƵƌƚŚĂƐŶŽƚǇĞƚƐƚĂŵƉĞĚ͞ƐŽŽƌĚĞƌĞĚ͟ŽŶŽƵƌĂŐƌĞĞŵĞŶƚŶŽƚƚŽ
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ƐŚĂƌĞƚŚĞ^͛ƐĚŽĐƵŵĞŶƚƐǁŝƚŚŶŽŶͲƉƌŽĚƵĐŝŶŐĚĞĨĞŶĚĂŶƚƐ͘tĞŚĂǀĞĂůƌĞĂĚǇĂŐƌĞĞĚŶŽƚƚŽ
ƐŚĂƌĞĚŽĐƵŵĞŶƚƐǁŝƚŚŶŽŶͲƉƌŽĚƵĐŝŶŐĚĞĨĞŶĚĂŶƚƐ͕ĞǆĞĐƵƚĞĚƚŚĞƐƚŝƉƵůĂƚŝŽŶ͕ĂŶĚĂƌĞďŽƵŶĚďǇ
ŝƚ͘zŽƵŚĂǀĞŶŽƚĐŽŶƚĞŶĚĞĚŽƚŚĞƌǁŝƐĞ͘
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ĞůĂǇŝŶŐǇŽƵƌƉƌŽĚƵĐƚŝŽŶĂŶǇůŽŶŐĞƌŝƐƵŶĂĐĐĞƉƚĂďůĞ͘/ĨǇŽƵǁŝůůŶŽƚĂŐƌĞĞƚŽŵĂŬĞǇŽƵƌ
ƉƌŽĚƵĐƚŝŽŶďǇ&ƌŝĚĂǇ͕ǁĞǁŝůůƐĞĞŬĂƉƉƌŽƉƌŝĂƚĞƌĞůŝĞĨĨƌŽŵƚŚĞŽƵƌƚ͘WůĞĂƐĞůĞƚƵƐŬŶŽǁďǇ
ĐůŽƐĞŽĨďƵƐŝŶĞƐƐŽŶdŚƵƌƐĚĂǇŝĨǇŽƵǁŝůůĚŽƐŽ͘tĞĂƌĞĂǀĂŝůĂďůĞƚŽŵĞĞƚͲĂŶĚͲĐŽŶĨĞƌĂďŽƵƚ
ƚŚŝƐŵĂƚƚĞƌ͕ŝĨǇŽƵƐŽĚĞƐŝƌĞ͘
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/ĨǇŽƵǁŝƐŚƚŽĐĂůůƚŚĞŽƵƌƚ͛ƐĐůĞƌŬĂďŽƵƚƚŚĞƉĞŶĚŝŶŐƐƚŝƉƵůĂƚŝŽŶ͕ǇŽƵŵĂǇĚŽƐŽǁŝƚŚŽƵƚ
ƵƐ͘tĞĚŽŶŽƚďĞůŝĞǀĞƚŚĞƉĞŶĚŝŶŐƐƚŝƉƵůĂƚŝŽŶƉƌŽǀŝĚĞƐƚŚĞ^ǁŝƚŚĂŶǇĞǆĐƵƐĞƚŽĚĞůĂǇŝƚƐ
ƉƌŽĚƵĐƚŝŽŶŽĨĚŽĐƵŵĞŶƚƐŝŶƚŚŝƐĐĂƐĞĂŶǇůŽŶŐĞƌ͘
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ZĞŐĂƌĚƐ͕
DŝĐŚĂĞů
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&RROH\//3
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'LUHFW)D[
(PDLO0%HUNRYLWV#FRROH\FRPZZZFRROH\FRP
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&ƌŽŵ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх
^ĞŶƚ͗dƵĞƐĚĂǇ͕:ƵŶĞϭϭ͕ϮϬϭϵϭϮ͗ϬϰWD
dŽ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵфŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞ
фƌŽŵďĞƌŐ<Λ^͘'Ksх͖ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх͖>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ
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DŝĐŚĂĞů͕
dŚĂŶŬǇŽƵĨŽƌǇŽƵƌĞŵĂŝů͘
tĞĐĂŶŶŽƚƐĞŶĚŽƵƚŽƵƌĚŽĐƵŵĞŶƚƐƵŶƚŝůƚŚĞƐƚŝƉŝƐƐŽŽƌĚĞƌĞĚďǇƚŚĞŽƵƌƚ͘tĞ͛ƌĞŚĂƉƉǇƚŽŵĂŬĞŽƵƌƐĞůǀĞƐĂǀĂŝůĂďůĞ
ƚŽĚŽĂũŽŝŶƚĐĂůůƚŽĐŚĂŵďĞƌƐŝĨǇŽƵ͛ĚůŝŬĞ
ƐƚŽƚŚĞŵĞƚĂĚĂƚĂǁĞƌĞƋƵŝƌĞ͕ĂƚƚĂĐŚĞĚĂŐĂŝŶĂƌĞŽƵƌĚĂƚĂĚĞůŝǀĞƌǇƐƚĂŶĚĂƌĚƐ͘^ŝŶĐĞǇŽƵĚŝĚŶŽƚŽďũĞĐƚƚŽƚŚĞŵĂŶĚ
ƐŝŶĐĞZƵůĞϯϰ;ď;;ϭͿ;ͿƉĞƌŵŝƚƐƵƐƚŽƐƉĞĐŝĨǇƚŚĞĨŽƌŵŝŶǁŚŝĐŚƚŚĞĚŽĐƵŵĞŶƚƐƐŚŽƵůĚďĞƉƌŽĚƵĐĞĚ͕ǁĞĂƐŬƚŚĂƚǇŽƵ
ĐŽŵƉůǇǁŝƚŚƚŚŽƐĞƐƚĂŶĚĂƌĚƐĂƐƐŽŽŶĂƐƉŽƐƐŝďůĞ͘
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&ƌŽŵ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
^ĞŶƚ͗DŽŶĚĂǇ͕:ƵŶĞϭϬ͕ϮϬϭϵϳ͗ϭϯWD
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EĂŶĐǇ͕
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ůĂƚĞƌƚŚĂŶƚŚĞĞŶĚŽĨƚŚŝƐǁĞĞŬ͘/ĨƚŚĂƚŝƐŶŽƚĐŽƌƌĞĐƚ͕ƉůĞĂƐĞůĞƚƵƐŬŶŽǁƉƌŽŵƉƚůǇ͘
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tĞŚĂǀĞŶŽƚƐĞĞŶƚŚĞŽƵƌƚĞŶƚĞƌƚŚĞ>ĂĚĚƐƚŝƉƵůĂƚŝŽŶƌĞƐƚƌŝĐƚŝŶŐƐŚĂƌŝŶŐƚŚĞ^͛ƐƉƌŽĚƵĐƚŝŽŶǁŝƚŚĐĞƌƚĂŝŶŽƚŚĞƌ
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tŝƚŚƌĞƐƉĞĐƚƚŽŵĞƚĂĚĂƚĂ͕>ϬϬϬϬϬϬϭϰϴ͕ͲϭϱϮ͕Ͳϭϱϲ͕Ͳϭϲϭ͕Ͳϭϲϴ͕ĂŶĚͲϭϳϱĂƌĞDƌ͘>ĂĚĚ͛ƐďƌŽŬĞƌĂŐĞƐƚĂƚĞŵĞŶƚƐƚŚĂƚ
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dŽ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
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,ĂǀŝŶŐŽďƚĂŝŶĞĚǇŽƵƌŚĂƌĚĚƌŝǀĞĂŶĚƚŚĞŽƵƌƚ͛ƐĞŶƚƌǇŽĨƚŚĞĐŽŶĨŝĚĞŶƚŝĂůŝƚǇƐƚŝƉƵůĂƚŝŽŶ͕ǁĞǁŝůůƉƌŽĚƵĐĞƐŚŽƌƚůǇ͘/ŚĂǀĞ
ŶŽƚǇĞƚƐĞĞŶƚŚĞŽƵƌƚ͛ƐĞŶƚƌǇŽĨƚŚĞƐƚŝƉƵůĂƚŝŽŶǁŝƚŚ>ĂĚĚŽŶƐŚĂƌŝŶŐƚŚĞƉƌŽĚƵĐƚŝŽŶǁŝƚŚŽƚŚĞƌƐ͘,ĂǀĞǇŽƵ͍ƐǇŽƵ
ŬŶŽǁ͕ǁĞƐƵďŵŝƚƚĞĚŝƚĂƚƚŚĞƐĂŵĞƚŝŵĞǁĞƐƵďŵŝƚƚĞĚƚŚĞŽŶĨŝĚĞŶƚŝĂůŝƚǇƐƚŝƉĂŶĚƚŚĞƌĂƵƐĞƌ^ƚŝƉ͕ďŽƚŚŽĨǁŚŝĐŚǁĞƌĞ
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ƐƚĂŶĚĂƌĚƐǁĞŝŶĐůƵĚĞĚŝŶŽƵƌƌĞƋƵĞƐƚ͘zŽƵĚŝĚŶŽƚŽďũĞĐƚƚŽƚŚĂƚƌĞƋƵŝƌĞŵĞŶƚ͕ĂŶĚƚŚĞƌƵůĞƐƌĞƋƵŝƌĞǇŽƵƌƉƌŽĚƵĐƚŝŽŶŽĨ
ĂůůŶŽŶͲŝĚĞŶƚŝĐĂůĐŽƉŝĞƐ͕ǁŚŝĐŚŵĞĂŶƐ͕ŽĨĐŽƵƌƐĞ͕ƚŚĞĚŽĐƵŵĞŶƚƐǁŝƚŚƚŚĞŝƌŵĞƚĂĚĂƚĂ͘
ƐƚŽƚŚĞƉƌŝǀŝůĞŐĞůŽŐ͕ǁĞƐŚŽƵůĚŚĂǀĞƚŚĂƚƚŽǇŽƵƐŽŵĞƚŝŵĞŶĞǆƚǁĞĞŬ͘tŚĞŶǁŝůůǇŽƵďĞƉƌŽǀŝĚŝŶŐǇŽƵƌƐ͍
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&ƌŽŵ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕:ƵŶĞϳ͕ϮϬϭϵϭϬ͗ϱϵD
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фƌŽŵďĞƌŐ<Λ^͘'Ksх͖ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх͖>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ
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ƉƌŽĚƵĐƚŝŽŶ͕ǁŚŝĐŚŝƐŶŽǁŽǀĞƌĚƵĞďǇϭϰĚĂǇƐ͘dŚĞ^͛ƐƉƌŽĚƵĐƚŝŽŶŽĨƌĞƐƉŽŶƐŝǀĞĚŽĐƵŵĞŶƚƐ͕ĂŶĚůŽŐŽĨĂŶǇƉƌŝǀŝůĞŐĞĚ
ĚŽĐƵŵĞŶƚƐǁŝƚŚŚĞůĚ͕ǁĞƌĞĚƵĞŽŶDĂǇϮϯ͘tŚŝůĞƚŚĞ^ƐĞƌǀĞĚƌĞƐƉŽŶƐĞƐĂŶĚŽďũĞĐƚŝŽŶƐŽŶƚŚĂƚĚĂƚĞĂŶĚƐƚĂƚĞĚƚŚĂƚ
ŝƚǁŽƵůĚƉƌŽĚƵĐĞŝƚƐŝŶǀĞƐƚŝŐĂƚŝǀĞĨŝůĞ͕ƚŚĞ^ŚĂƐ͕ƚŽĚĂƚĞ͕ƐƚŝůůŶŽƚƉƌŽĚƵĐĞĚĂŶǇĚŽĐƵŵĞŶƚƐƚŽDƌ͘>ĂĚĚ͘
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ƚƚŚĞDĂǇϭϱ͕ϮϬϭϵĐŽŶĨĞƌĞŶĐĞďĞĨŽƌĞƚŚĞŽƵƌƚ͕ƚŚĞ^ĞǆƉůĂŝŶĞĚƚŚĂƚŝƚĂůƌĞĂĚǇŬŶĞǁƚŚĞƉĂŐĞĐŽƵŶƚĨŽƌŝƚƐ
ĨŽƌƚŚĐŽŵŝŶŐƉƌŽĚƵĐƚŝŽŶ͕ĂŶĚĂĚǀŝƐĞĚƚŚĞŽƵƌƚƚŚĂƚŝƚǁĂƐ͞ǁŽƌŬŝŶŐŽŶ͟ŵĂŬŝŶŐŝƚƐƉƌŽĚƵĐƚŝŽŶǁŝƚŚŝŶϯϬĚĂǇƐŽĨDƌ͘
>ĂĚĚ͛ƐZ&WƐ͕ŝ͘Ğ͕͘ďǇDĂǇϮϯ͕ϮϬϭϵ͘^ĞĞ,͛ƌŐdƌ͘Ăƚϭϱ͘dŚĞŽƵƌƚĂůƐŽƐƚĂƚĞĚŝƚƐĞǆƉĞĐƚĂƚŝŽŶƚŚĂƚƚŚĞƉƌŽĚƵĐƚŝŽŶǁŽƵůĚďĞ
ŵĂĚĞŽŶƚŝŵĞŽƌĂƚůĞĂƐƚ͞ƐŚŽƌƚůǇƚŚĞƌĞĂĨƚĞƌ͘͟/Ě͘Ăƚϭϴ͘tŚĞŶƚŚĞ^ĚŝĚŶŽƚŵĂŬĞŝƚƐƉƌŽĚƵĐƚŝŽŶŽŶƚŝŵĞ͕ǁĞĨŽůůŽǁĞĚ
ƵƉǁŝƚŚǇŽƵŽŶDĂǇϯϭƌĞƋƵĞƐƚŝŶŐƚŚĂƚƚŚĞ^ĂĚǀŝƐĞǁŚĞŶŝƚĞǆƉĞĐƚĞĚƚŽĚŽƐŽ͕ďƵƚǇŽƵŚĂǀĞŶŽƚƌĞƐƉŽŶĚĞĚƚŽƚŚĂƚ
ƌĞƋƵĞƐƚ͘
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dŚĞŽƵƌƚŚĂƐĂĚŽƉƚĞĚƚŚĞƉĂƌƚŝĞƐ͛ũŽŝŶƚĐŽŶĨŝĚĞŶƚŝĂůŝƚǇŽƌĚĞƌ͕Dƌ͘>ĂĚĚŚĂƐƉƌŽǀŝĚĞĚĂŚĂƌĚĚƌŝǀĞƐŽƚŚĂƚƚŚĞ^ĐĂŶ
ĐŽƉǇŽǀĞƌŝƚƐƉƌŽĚƵĐƚŝŽŶ͕ĂŶĚƚŚĞƌĞĂƌĞŶŽŽďƐƚĂĐůĞƐƚŽƚŚĞ^ŵĂŬŝŶŐƚŚĞƉƌŽĚƵĐƚŝŽŶƚŚĂƚŝƚŚĂƐŚĂĚƌĞĂĚǇƐŝŶĐĞĂƚ
ůĞĂƐƚDĂǇϭϱ͘tĞĞǆƉĞĐƚƚŽƌĞĐĞŝǀĞƚŚŝƐƉƌŽĚƵĐƚŝŽŶƉƌŽŵƉƚůǇ͘WůĞĂƐĞĂĚǀŝƐĞǁŚĞŶǇŽƵǁŝůůďĞŐŝŶƉƌŽĚƵĐŝŶŐĚŽĐƵŵĞŶƚƐ
ƌĞƐƉŽŶƐŝǀĞƚŽDƌ͘>ĂĚĚ͛ƐĨŝƌƐƚƐĞƚŽĨƌĞƋƵĞƐƚƐĨŽƌƉƌŽĚƵĐƚŝŽŶ͘WůĞĂƐĞĂůƐŽĂĚǀŝƐĞǁŚĞŶǇŽƵƌƉƌŽĚƵĐƚŝŽŶ͕ŝŶĐůƵĚŝŶŐĂ
ƉƌŝǀŝůĞŐĞůŽŐĨŽƌĂŶǇĚŽĐƵŵĞŶƚƐǁŝƚŚŚĞůĚ͕ǁŝůůďĞĐŽŵƉůĞƚĞĚ͘
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&ƌŽŵ͗ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞů
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dŽ͗ΖƌŽǁŶ͕EĂŶĐǇΖфƌŽǁŶEΛ^͘'Ksх
Đ͗ΖŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵΖфŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖ΖWĂůĞǇ͕DŝĐŚĂĞů͘ΖфWĂůĞǇDΛ^͘'Ksх͖ΖƌŽŵďĞƌŐ͕
<ĂƚŚĞƌŝŶĞΖфƌŽŵďĞƌŐ<Λ^͘'Ksх͖ΖĂŶŝĞůƐ͕:ŽŶΖфĚĂŶŝĞůƐũΛ^͘'Ksх͖>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖
Ζ:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐΖфŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ
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EĂŶĐǇ͕
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ůƚŚŽƵŐŚǁĞŶŽƚĞƚŚĂƚǇŽƵƌƉŽƐŝƚŝŽŶŝƐŝŶĐŽŶƐŝƐƚĞŶƚǁŝƚŚƚŚĞ^͛ƐŽǁŶƌĞƐƉŽŶƐĞƐƚŽDƌ͘>ĂĚĚ͛ƐZ&WƐ͕ǁŚŝĐŚƐƚĂƚĞƚŚĂƚŝŶ
ƚŚĞĞǀĞŶƚŽĨŝŶĂĚǀĞƌƚĞŶƚĚŝƐĐůŽƐƵƌĞďǇƚŚĞ^͕Dƌ͘>ĂĚĚƐŚŽƵůĚ͞ĚĞƐƚƌŽǇĂŶǇĞůĞĐƚƌŽŶŝĐǀĞƌƐŝŽŶƐŽĨƐƵĐŚĚŽĐƵŵĞŶƚƐŝŶ
ĞĨĞŶĚĂŶƚ͛ƐĐƵƐƚŽĚǇ͕ĐŽŶƚƌŽůŽƌƉŽƐƐĞƐƐŝŽŶ͕͟ŝŶƚŚĞŝŶƚĞƌĞƐƚŽĨŵŽǀŝŶŐĨŽƌǁĂƌĚƉƌŽŵƉƚůǇǁŝƚŚƚŚĞ^͛ƐƉƌŽĚƵĐƚŝŽŶ͕ǁĞ


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ĂƌĞǁŝůůŝŶŐƚŽĂĐĐĞƉƚƚŚĞ^͛ƐƉƌŽƉŽƐĞĚůĂŶŐƵĂŐĞŝŶƚŚĞĐŽŶĨŝĚĞŶƚŝĂůŝƚǇŽƌĚĞƌ͕ǁŚŝĐŚǁĞĂƐƐƵŵĞǁŝůůƚƌƵŵƉƚŚĂƚ
ĐŽŶƚĂŝŶĞĚŝŶƚŚĞ^͛ƐƌĞƐƉŽŶƐĞƐƚŽDƌ͘>ĂĚĚ͛ƐZ&WƐ͘
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tĞƵŶĚĞƌƐƚĂŶĚƚŚĂƚƚŚĞ^ŚĂƐƌĞĐĞŝǀĞĚƚŚĞŚĂƌĚĚƌŝǀĞƚŚĂƚǁĞƉƌŽǀŝĚĞĚĨŽƌƚŚĞ^͛ƐŝŶŝƚŝĂůƉƌŽĚƵĐƚŝŽŶ͕ĂŶĚǁĞŚĂǀĞ
ĂůƌĞĂĚǇĞǆĞĐƵƚĞĚƚŚĞƐƚŝƉƵůĂƚŝŽŶǇŽƵƉƌŽǀŝĚĞĚƐĞƚƚŝŶŐŽƵƚƌĞƐƚƌŝĐƚŝŽŶƐŽŶƐŚĂƌŝŶŐĚŝƐĐŽǀĞƌǇǁŝƚŚĐŽĚĞĨĞŶĚĂŶƚƐŝŶǀŽŬŝŶŐ
ƚŚĞĂĐƚŽĨƉƌŽĚƵĐƚŝŽŶƉƌŝǀŝůĞŐĞ͘
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dŚĞƌĞĨŽƌĞ͕ƉůĞĂƐĞĂĚǀŝƐĞǁŚĞŶƚŚĞ^ǁŝůůŵĂŬĞŝƚƐƉƌŽĚƵĐƚŝŽŶŝŶƌĞƐƉŽŶƐĞƚŽ>ĂĚĚ͛Ɛ&ŝƌƐƚZ&WƐ͘WůĞĂƐĞĂůƐŽĂĚǀŝƐĞ
ǁŚĞŶƚŚĞ^ǁŝůůƉƌŽĚƵĐĞĂƉƌŝǀŝůĞŐĞůŽŐĨŽƌĂŶǇĚŽĐƵŵĞŶƚƐǁŝƚŚŚĞůĚĨƌŽŵƚŚĂƚƉƌŽĚƵĐƚŝŽŶ͘
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dŽ͗>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ;ŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵͿ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх͖ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ΖŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵΖфŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵх͖&ĞĞ͕ĚĂŵ;&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵͿф&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵх͖
ŶůůŽƌĞƚΛŽƌƌŝĐŬ͘ĐŽŵ͖ΖŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵΖфŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵх͖EE/^Z/,Z
;ĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖D>/^^D</t/
;DĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфDĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖KƐŶĂƚŽ͕DŝĐŚĂĞů:͘;DŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵͿ
фDŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵх͖WĂƚĞů͕ŶĂƌZĂƚŚŽĚ;ĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵͿфĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵх͖ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵ
фŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞфƌŽŵďĞƌŐ<Λ^͘'Ksх͖
ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх
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tŚĂƚŚĂƉƉĞŶƐŝĨǁĞĚŝƐĐŽǀĞƌƚŚĞĚŽĐƵŵĞŶƚ͘ǇĚĞĨŝŶŝƚŝŽŶ͕ǁĞǁŝůůĂůƌĞĂĚǇŚĂǀĞƌĞǀŝĞǁĞĚŝƚ͘tĞǁŝůůĂŐƌĞĞƚŽƐĞƋƵĞƐƚĞƌ
ŝƚ͕ďƵƚǁĞĐĂŶ͛ƚĂŐƌĞĞƚŽŶŽƚƌĞǀŝĞǁƐŽŵĞƚŚŝŶŐǁĞ͛ǀĞĂůƌĞĂĚǇƌĞǀŝĞǁĞĚ͘
^ŝŵŝůĂƌůǇ͕ǁŚĂƚŚĂƉƉĞŶƐŝĨǇŽƵŵŽǀĞƚŽĐůĂǁďĂĐŬĂĚŽĐƵŵĞŶƚƚŚĂƚǁĞǁŽƵůĚĂƌŐƵĞ͕ŝĨǁĞĐŽƵůĚƌĞǀŝĞǁŝƚ͕ǁĂƐŶ͛ƚĂĐƚƵĂůůǇ
ƉƌŝǀŝůĞŐĞĚ͍,ŽǁĚŽǁĞĂƌŐƵĞƚŚĂƚŝĨǁĞŚĂǀĞŶ͛ƚƐĞĞŶƚŚĞĚŽĐƵŵĞŶƚ͘
^ĞƋƵĞƐƚƌĂƚŝŽŶƉƌŽƚĞĐƚƐǇŽƵďĞĐĂƵƐĞǁĞĐĂŶ͛ƚƵƐĞƚŚĞĚŽĐƵŵĞŶƚǁŚŝůĞǇŽƵƐĞĞŬ;ĂŶĚǁĞĞŝƚŚĞƌĂŐƌĞĞŽƌŽďũĞĐƚƚŽͿĂŶ
ŽƌĚĞƌĂƵƚŚŽƌŝǌŝŶŐŝƚƐƌĞƚƵƌŶ͘
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&ƌŽŵ͗>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕DĂǇϮϵ͕ϮϬϭϵϮ͗ϯϮWD
dŽ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ;ŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵͿ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх͖ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ΖŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵΖфŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵх͖&ĞĞ͕ĚĂŵ;&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵͿф&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵх͖
ŶůůŽƌĞƚΛŽƌƌŝĐŬ͘ĐŽŵ͖ΖŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵΖфŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵх͖EE/^Z/,Z
;ĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖D>/^^D</t/
;DĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфDĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖KƐŶĂƚŽ͕DŝĐŚĂĞů:͘;DŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵͿ
фDŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵх͖WĂƚĞů͕ŶĂƌZĂƚŚŽĚ;ĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵͿфĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵх͖ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵ
фŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞфƌŽŵďĞƌŐ<Λ^͘'Ksх͖

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ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ
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:K\FDQ¶W\RXDFFHSWWKHFKDQJH"$UH\RXXQZLOOLQJWRDJUHHWKDW³VHTXHVWHU´PHDQVWKDW\RXPD\QRW
UHYLHZWKHPDWHULDOV",IQRWKRZGR\RXLQWHUSUHWWKHWHUP³VHTXHVWHU´"
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5DQGDOO
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&ƌŽŵ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕DĂǇϮϵ͕ϮϬϭϵϭϭ͗ϯϬD
dŽ͗>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ;ŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵͿ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх͖ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ΖŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵΖфŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵх͖&ĞĞ͕ĚĂŵ;&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵͿф&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵх͖
ŶůůŽƌĞƚΛŽƌƌŝĐŬ͘ĐŽŵ͖ΖŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵΖфŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵх͖EE/^Z/,Z
;ĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖D>/^^D</t/
;DĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфDĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖KƐŶĂƚŽ͕DŝĐŚĂĞů:͘;DŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵͿ
фDŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵх͖WĂƚĞů͕ŶĂƌZĂƚŚŽĚ;ĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵͿфĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵх͖ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵ
фŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞфƌŽŵďĞƌŐ<Λ^͘'Ksх͖
ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ

'ƌĞĂƚ͘WůĞĂƐĞĞǆĞĐƵƚĞĂŶĚƌĞƚƵƌŶ͘
tĞĐĂŶŶŽƚĂĐĐĞƉƚǇŽƵƌĐŚĂŶŐĞƚŽWĂƌĂŐƌĂƉŚϳŽĨƚŚĞŽŶĨŝĚĞŶƚŝĂůŝƚǇ^ƚŝƉ͘tŚĞƌĞĂƌĞƚŚĞƌĞƐƚŽĨƚŚĞĞĨĞŶĚĂŶƚƐŽŶŝƚ͍
dŚĂŶŬǇŽƵ͘

&ƌŽŵ͗>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх
^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕DĂǇϮϵ͕ϮϬϭϵϮ͗ϭϰWD
dŽ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ;ŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵͿ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх͖ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ΖŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵΖфŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵх͖&ĞĞ͕ĚĂŵ;&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵͿф&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵх͖
ŶůůŽƌĞƚΛŽƌƌŝĐŬ͘ĐŽŵ͖ΖŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵΖфŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵх͖EE/^Z/,Z
;ĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖D>/^^D</t/
;DĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфDĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖KƐŶĂƚŽ͕DŝĐŚĂĞů:͘;DŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵͿ
фDŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵх͖WĂƚĞů͕ŶĂƌZĂƚŚŽĚ;ĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵͿфĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵх͖ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵ
фŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞфƌŽŵďĞƌŐ<Λ^͘'Ksх͖
ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх
^ƵďũĞĐƚ͗Z͗^ǀ͘,ŽŶŝŐ
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1DQF\
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7KHVWLSXODWLRQRQWKHVKDULQJRIGLVFRYHU\LVILQHZLWKXV
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5DQGDOO
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&ƌŽŵ͗ƌŽǁŶ͕EĂŶĐǇфƌŽǁŶEΛ^͘'Ksх
^ĞŶƚ͗dŚƵƌƐĚĂǇ͕DĂǇϮϯ͕ϮϬϭϵϭ͗ϰϰWD
dŽ͗>ĞĞ͕ZĂŶĚĂůůZ͘фƌĂŶĚĂůů͘ůĞĞΛĐŽŽůĞǇ͘ĐŽŵх͖:ŽŚŶƐƚŽŶĞ͕ŚƌŝƐ;ŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵͿ
фŚƌŝƐ͘:ŽŚŶƐƚŽŶĞΛǁŝůŵĞƌŚĂůĞ͘ĐŽŵх͖ĞƌŬŽǀŝƚƐ͕DŝĐŚĂĞůфŵďĞƌŬŽǀŝƚƐΛĐŽŽůĞǇ͘ĐŽŵх
Đ͗ΖŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵΖфŐĐĂŶĞůůŽƐΛŵŝůďĂŶŬ͘ĐŽŵх͖&ĞĞ͕ĚĂŵ;&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵͿф&ĞĞΛŵŝůďĂŶŬ͘ĐŽŵх͖
ŶůůŽƌĞƚΛŽƌƌŝĐŬ͘ĐŽŵ͖ΖŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵΖфŐŵŽƌǀŝůůŽΛŽƌƌŝĐŬ͘ĐŽŵх͖EE/^Z/,Z
;ĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфĚĞŶŶŝƐΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖D>/^^D</t/

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;DĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵͿфDĞůŝƐƐĂΛƌŝĐŚĂƌĚĂŶĚƌŝĐŚĂƌĚ͘ĐŽŵх͖KƐŶĂƚŽ͕DŝĐŚĂĞů:͘;DŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵͿ
фDŝĐŚĂĞů͘KƐŶĂƚŽΛƐƚďůĂǁ͘ĐŽŵх͖WĂƚĞů͕ŶĂƌZĂƚŚŽĚ;ĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵͿфĂƉĂƚĞůΛƐƚďůĂǁ͘ĐŽŵх͖ŚĂŶĚƌĂƐĞŬŚĂƌ͕ŚĂƌƵ
фŚĂŶĚƌĂƐĞŬŚĂƌΛ^͘'Ksх͖WĂůĞǇ͕DŝĐŚĂĞů͘фWĂůĞǇDΛ^͘'Ksх͖ƌŽŵďĞƌŐ͕<ĂƚŚĞƌŝŶĞфƌŽŵďĞƌŐ<Λ^͘'Ksх͖
ĂŶŝĞůƐ͕:ŽŶфĚĂŶŝĞůƐũΛ^͘'Ksх
^ƵďũĞĐƚ͗^ǀ͘,ŽŶŝŐ
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WůĞĂƐĞƐĞĞĂƚƚĂĐŚĞĚ͘
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7KLVHPDLOPHVVDJHLVIRUWKHVROHXVHRIWKHLQWHQGHGUHFLSLHQW V DQGPD\FRQWDLQFRQILGHQWLDODQGSULYLOHJHGLQIRUPDWLRQ$Q\XQDXWKRUL]HGUHYLHZXVH
GLVFORVXUHRUGLVWULEXWLRQLVSURKLELWHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHFRQWDFWWKHVHQGHUE\UHSO\HPDLODQGGHVWUR\DOOFRSLHVRIWKHRULJLQDOPHVVDJH
,I\RXDUHWKHLQWHQGHGUHFLSLHQWSOHDVHEHDGYLVHGWKDWWKHFRQWHQWRIWKLVPHVVDJHLVVXEMHFWWRDFFHVVUHYLHZDQGGLVFORVXUHE\WKHVHQGHU V(PDLO6\VWHP
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7KLVHPDLOPHVVDJHLVIRUWKHVROHXVHRIWKHLQWHQGHGUHFLSLHQW V DQGPD\FRQWDLQFRQILGHQWLDODQGSULYLOHJHGLQIRUPDWLRQ$Q\XQDXWKRUL]HGUHYLHZXVH
GLVFORVXUHRUGLVWULEXWLRQLVSURKLELWHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHFRQWDFWWKHVHQGHUE\UHSO\HPDLODQGGHVWUR\DOOFRSLHVRIWKHRULJLQDOPHVVDJH
,I\RXDUHWKHLQWHQGHGUHFLSLHQWSOHDVHEHDGYLVHGWKDWWKHFRQWHQWRIWKLVPHVVDJHLVVXEMHFWWRDFFHVVUHYLHZDQGGLVFORVXUHE\WKHVHQGHU V(PDLO6\VWHP
$GPLQLVWUDWRU

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7KLVHPDLOPHVVDJHLVIRUWKHVROHXVHRIWKHLQWHQGHGUHFLSLHQW V DQGPD\FRQWDLQFRQILGHQWLDODQGSULYLOHJHGLQIRUPDWLRQ$Q\XQDXWKRUL]HGUHYLHZXVH
GLVFORVXUHRUGLVWULEXWLRQLVSURKLELWHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHFRQWDFWWKHVHQGHUE\UHSO\HPDLODQGGHVWUR\DOOFRSLHVRIWKHRULJLQDOPHVVDJH
,I\RXDUHWKHLQWHQGHGUHFLSLHQWSOHDVHEHDGYLVHGWKDWWKHFRQWHQWRIWKLVPHVVDJHLVVXEMHFWWRDFFHVVUHYLHZDQGGLVFORVXUHE\WKHVHQGHU V(PDLO6\VWHP
$GPLQLVWUDWRU

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7KLVHPDLOPHVVDJHLVIRUWKHVROHXVHRIWKHLQWHQGHGUHFLSLHQW V DQGPD\FRQWDLQFRQILGHQWLDODQGSULYLOHJHGLQIRUPDWLRQ$Q\XQDXWKRUL]HGUHYLHZXVH
GLVFORVXUHRUGLVWULEXWLRQLVSURKLELWHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHFRQWDFWWKHVHQGHUE\UHSO\HPDLODQGGHVWUR\DOOFRSLHVRIWKHRULJLQDOPHVVDJH
,I\RXDUHWKHLQWHQGHGUHFLSLHQWSOHDVHEHDGYLVHGWKDWWKHFRQWHQWRIWKLVPHVVDJHLVVXEMHFWWRDFFHVVUHYLHZDQGGLVFORVXUHE\WKHVHQGHU V(PDLO6\VWHP
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7KLVHPDLOPHVVDJHLVIRUWKHVROHXVHRIWKHLQWHQGHGUHFLSLHQW V DQGPD\FRQWDLQFRQILGHQWLDODQGSULYLOHJHGLQIRUPDWLRQ$Q\XQDXWKRUL]HGUHYLHZXVH
GLVFORVXUHRUGLVWULEXWLRQLVSURKLELWHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWSOHDVHFRQWDFWWKHVHQGHUE\UHSO\HPDLODQGGHVWUR\DOOFRSLHVRIWKHRULJLQDOPHVVDJH
,I\RXDUHWKHLQWHQGHGUHFLSLHQWSOHDVHEHDGYLVHGWKDWWKHFRQWHQWRIWKLVPHVVDJHLVVXEMHFWWRDFFHVVUHYLHZDQGGLVFORVXUHE\WKHVHQGHU V(PDLO6\VWHP
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